
689 So.2d 1383 (1997)
STAR ENTERPRISES
v.
STATE of Louisiana Through the DEPARTMENT OF REVENUE AND TAXATION and Ralph Slaughter, in His Official Capacity as Secretary of the Louisiana Department of Revenue and Taxation.
CITGO PETROLEUM CORPORATION
v.
STATE of Louisiana Through the DEPARTMENT OF REVENUE AND TAXATION and Ralph Slaughter, in His Capacity as Secretary of the Department of Revenue and Taxation.
ATLAS PROCESSING COMPANY
v.
STATE of Louisiana Through the DEPARTMENT OF REVENUE AND TAXATION and Ralph Slaughter, in His Capacity as Secretary of the Department of Revenue and Taxation.
No. 96-C-1983.
Supreme Court of Louisiana.
March 14, 1997.
Denied. Moot. See B.P. OIL # 96-0716 (La. 1/14/97).
LEMMON, J., not on panel.
